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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov

In re:                                                                      Case No. 8:18-bk-05676-RCT
                                                                            Chapter 13
FRANK MARINO QUAGLIA

                     Debtor.1
                                       /


         TRUSTEE'S MOTION TO DISMISS CASE FOR FAILURE TO COMPLY
      WITH THE COURT’S ADMINISTRATIVE ORDER, AND NOTICE OF HEARING


                  A preliminary hearing in this case will be held on September 12, 2018 at
                  9:30 a.m. in Courtroom 9B before the Honorable Roberta A. Colton,
                  United States Bankruptcy Judge, at Sam M. Gibbons United States
                  Courthouse, 801 North Florida Avenue, Tampa, Florida 33602 to
                  consider and act upon this matter.



           Kelly Remick, Chapter 13 Standing Trustee, hereby moves for the entry of an order

dismissing this case, and in support thereof states the following:

           1.        The Debtor’s Petition for Relief under Chapter 13 of the Bankruptcy Code was

filed on July 10, 2018 and a Section 341 Meeting of Creditors was scheduled for August 7, 2018.

           2.        The Debtor has failed to comply with the Court’s Administrative Order docketed

on July 11, 2018 (Doc. No. 4).

           3.        The Debtor failed to provide to the Chapter 13 Standing Trustee, at least seven (7)

days prior to the Section 341 Meeting of Creditors, copies of all pay stubs, advices or

documentation of income sources (“payment advices”) for the six month period ending on the

last day of the month preceding the month of the petition date.




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    All references to “Debtor” shall include and refer to both of Debtors in a case filed jointly by two individuals.
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        4.     The Debtor failed to provide to the Chapter 13 Standing Trustee, at least seven (7)

days prior to the Section 341 Meeting of Creditors, copies of tax returns for the two years

preceding the petition date.

        5.     The Debtor has made no plan payments to the Chapter 13 Standing Trustee.

        6.     The Debtor’s Plan, Schedules A-J, Statement of Financial Affairs, Form B 122C-

1 and Form 2030 were filed less than seven (7) days prior to the scheduled §341 Meeting of

Creditors.

        WHEREFORE, the Trustee respectfully requests that the Court enter an order dismissing

this case, together with such other and further relief as the Court deems just and proper.

        I HEREBY CERTIFY that a true and correct copy of the foregoing Trustee’s Motion to

Dismiss and Notice of Hearing was furnished, electronically by CM/ECF and/or by U.S. Mail, to

FRANK MARINO QUAGLIA, 28529 Seashell Court, Wesley Chapel, Florida 33545; DAVID

W. STEEN, P.A., 2901 West Busch Boulevard, Suite 311, Tampa, Florida 33618; U.S.

TRUSTEE, 501 East Polk Street, Suite 1200, Tampa, Florida 33602, on this 9th day of August,

2018.




                                              /s/ Mara B. Mandell, Esquire
                                              MARA B. MANDELL, ESQUIRE
                                              Post Office Box 6099
                                              Sun City Center, Florida 33571-6099
                                              Phone (813) 658-1165
                                              Facsimile (813) 658-1166
                                              Florida Bar No. 0856185
                                              Attorney for the Trustee
KR/am




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